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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                              Plaintiff,
vs.                                                                         NO. 19-CR-3113-JB


ROBERT PADILLA, a.k.a. “Fat Head,”
ROSE ANN ROMERO,
JOHNATHAN VIGIL, a.k.a. “Lil John,”
ROBERT HOCKMAN, a.k.a. “Tony,”
MARCOS RUIZ, a.k.a. “Mark,”
LUIS SANCHEZ, a.k.a. “Payaso,”
ASHLEY ROMERO,
TOMAS SANCHEZ, a.k.a. “T.J.,”
AMANDA SILVA,
SERGIO VALDEZ,
GENEVIVE ATENCIO, and
JANAYA ATENCIO,
                              Defendants.

 MOTION FOR EXTENSION OF TIME TO FILE TITLE III DISCOVERY MOTIONS
                AND TO CONTINUE MOTION HEARING

       Defendant Rose Ann Romero, by and through Counsel of record, Ahmad Assed, Esq.,

hereby respectfully moves the Court to extend the deadline to file Title III discovery motions to

March 4, 2021, and extend related response and reply deadlines accordingly, and to continue the

hearing currently scheduled for March 4, 2021 for Pretrial Motions and Title III Discovery

Motions by thirty (30) days. In support thereof, Ms. Romero states:

       1.      On February 1, 2021, the Court issued an order extending the time for filing Title

III discovery motions to February 4, 2021, with responses due by February 18, 2021, and replies

due by March 2, 2021; and also scheduling a hearing on any Title III discovery motions for

March 4, 2021 at 9:00 A.M. (Doc. 328).
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          2.      Disclosure of evidence to date consists of close to one terabyte of information.

Counsel for the defense and his expert have been diligently reviewing the voluminous information

for the purpose of identifying such evidence and determining the need for further disclosures

which would be addressed through a Title III discovery motion. Counsel for the defense and his

expert need an additional thirty (30) days to complete review of Title III related evidence in this

matter.

          3.      Counsel for the defense continues to be restricted in their ability to conduct face-

to-face meetings with clients to review and discuss discovery because of the restrictions still in

place as a result of the COVID-19 pandemic. As such, counsel has been delayed in the ability to

obtain client input related to the Title III evidence.

          4.      Extending the Title III discovery motions deadline to March 5, 2021 for filing of

such motions; to March 19, 2021 for responses; and to April 2, 2021 for replies would require a

continuation of the hearing currently scheduled for March 4, 2021. Counsel requests the hearing

be continued to a date after April 2, 2021 to be determined by the Court.

          5.      Counsel for Defendant Rose Ann Romero has contacted counsel for co-

Defendants for their position on this motion.

          6.      Co-Defendants Tomas Sanchez and Genevive Atencio join in this Motion; co-

Defendant Jonathan Vigil takes no position on this Motion. Counsel has not yet received a

response from the counsel for the remaining co-Defendants.

          7.      Counsel for Defendant has contacted AUSA Elaine Ramirez and the Government

does not oppose this Motion.
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       WHEREFORE, Rose Ann Romero respectfully requests that the Court extend the

deadlines for filing Title III discovery motions, responses and replies as requested above and

continue the Motions Hearing currently scheduled for March 4, 2021 accordingly to a date to be

determined by the Court.



                                                     Respectfully Submitted,

                                                     /s/_Ahmad Assed___________________
                                                     Ahmad Assed, Esq.
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                                                     Attorney for Rose Ann Romero




I HEREBY CERTIFY that a true and correct
copy of the foregoing was delivered electronically
to parties of record, via the CM/ECF system,
on this 3rd day of February, 2021.

/s/ Ahmad Assed
Ahmad Assed, Esq.
Attorney at Law
